         Case 24-54623-pwb                   Doc 38        Filed 05/29/24 Entered 05/29/24 17:23:18                             Desc Main
                                                          Document      Page 1 of 28




Fill in this information to identify the case:

Debtor name         Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)     24-54623-PWB
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 29, 2024                    X /s/ Belinda Ann Hull
                                                           Signature of individual signing on behalf of debtor

                                                            Belinda Ann Hull
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 24-54623-pwb                                   Doc 38               Filed 05/29/24 Entered 05/29/24 17:23:18                                                          Desc Main
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Fill in this information to identify the case:

Debtor name           Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)              24-54623-PWB
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $        2,600,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           103,019.89

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,703,019.89


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,669,396.06


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           217,054.92

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            62,925.56


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,949,376.54




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)       24-54623-PWB
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Truist Bank (04/30/2024 balance)                  checking                              8494                                     $7,285.89




          3.2.     Truist Bank (04/30/2024 balance)                  checking                              9149                                     $9,734.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $17,019.89
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Belinda's Southern Cuisine Inc.                                         Case number (If known) 24-54623-PWB
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          inventory                                                           Unknown                                            $10,000.00



23.       Total of Part 5.                                                                                                   $10,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture

40.       Office fixtures

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor       Belinda's Southern Cuisine Inc.                                                Case number (If known) 24-54623-PWB
             Name



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          estimated value of miscellaneous office
          equipment and furnishings                                                 Unknown                                            $1,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $1,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          estimated value of restaurant equipment,
          furnishings, and supplies                                                 Unknown                                           $75,000.00




51.       Total of Part 8.                                                                                                        $75,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        Belinda's Southern Cuisine Inc.                                              Case number (If known) 24-54623-PWB
              Name


      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 5,192 square foot
                    restaurant building
                    on approx. 1.3 acres
                    having an address of
                    7322 Stonecrest
                    Concourse, Lithonia,
                    GA 30038                     fee simple                        Unknown            Tax records                     $2,600,000.00




56.        Total of Part 9.                                                                                                        $2,600,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
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Debtor          Belinda's Southern Cuisine Inc.                                                                     Case number (If known) 24-54623-PWB
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $17,019.89

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $10,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $75,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,600,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $103,019.89           + 91b.            $2,600,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,703,019.89




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
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Fill in this information to identify the case:

Debtor name         Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)             24-54623-PWB
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Corporation Service
2.1                                                                                                                         Unknown                  Unknown
      Company,                                     Describe debtor's property that is subject to a lien
      Creditor's Name
      as Representative
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   UCC File No. 038-2023-013117
                                                   Is the creditor an insider or related party?
      uccsprep@cscinfo.com                            No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      6/13/2023                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   IOU Central Inc.                             Describe debtor's property that is subject to a lien                     $8,894.06                Unknown
      Creditor's Name                              essentially all business assets
      Robert Gloer, CEO
      600 TownPark Lane, Suite
      100
      Kennesaw, GA 30144
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      06/13/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1298

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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Debtor       Belinda's Southern Cuisine Inc.                                                       Case number (if known)       24-54623-PWB
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Newtek Small Business
2.3                                                                                                                     $1,600,000.00          $2,600,000.00
       Finance                                     Describe debtor's property that is subject to a lien
       Creditor's Name                             5,192 square foot restaurant building on
       Barry Sloane, CEO                           approx. 1.3 acres having an address of 7322
       1981 Marcus Avenue, Suite                   Stonecrest Concourse, Lithonia, GA 30038
       130
       New Hyde Park, NY 11042
       Creditor's mailing address                  Describe the lien
                                                   deed to secure debt
       newteksbfinance.com;                        Is the creditor an insider or related party?
       schandler@newtekone.co                         No
       m
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       on or about 08/15/2022                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6947;9108
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.4    WebBank                                     Describe debtor's property that is subject to a lien                      $60,502.00             Unknown
       Creditor's Name
       c/o Toast Capital Loan LLC
       401 Park Drive; Suite 801
       Boston, MA 02215
       Creditor's mailing address                  Describe the lien
                                                   Business Loan and Security Agreement
                                                   Is the creditor an insider or related party?
       capital@toasttab.com                           No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       4/5/2024                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $1,669,396.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       6

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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Debtor     Belinda's Southern Cuisine Inc.                                                     Case number (if known)         24-54623-PWB
           Name

assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       U.S. SBA - Georgia District
       Terri L. Denison, Director                                                                        Line   2.3
       233 Peachtree St NE; #300
       Atlanta, GA 30303-1553




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
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Fill in this information to identify the case:

Debtor name        Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)           24-54623-PWB
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,187.30         Unknown
          DeKalb County Tax Commissioner                      Check all that apply.
          Collections Division                                   Contingent
          P.O. Box 117545                                        Unliquidated
          Atlanta, GA 30368-7545                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          tax year 2020                                       personal property tax

          Last 4 digits of account number 1748                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $44,751.32          $44,751.32
          DeKalb County Tax Commissioner                      Check all that apply.
          Property Tax Division                                  Contingent
          P.O. Box 100004                                        Unliquidated
          Decatur, GA 30031-7004                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2023                                                ad valorem property tax
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 4
                                                                                                              21149
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Debtor       Belinda's Southern Cuisine Inc.                                                            Case number (if known)          24-54623-PWB
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $170,116.30     Unknown
          Georgia Dept. of Revenue                             Check all that apply.
          Taxpayer Services Division                              Contingent
          PO Box 105499                                           Unliquidated
          Atlanta, GA 30348-5499                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               sales & use tax and withholding tax, interest,
                                                               and penalty
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          A.J. Mitchell, Esq.                                                    Contingent
          for Johnson, Driver & Robinson                                         Unliquidated
          2388 Scenic Hwy S                                                      Disputed
          Snellville, GA 30078
                                                                             Basis for the claim: notice only regarding Partnership Agreement by and
          Date(s) debt was incurred on or about 01/19/2024
                                                                             between Belinda Hull, Dorothy Johnson, Tracy Driver, and Gaynell
          Last 4 digits of account number                                    Robinson
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,000.00
          CFM Group LLC                                                          Contingent
          representing Aramark Co.                                               Unliquidated
          2110 Powers Ferry Rd SE                                                Disputed
          Atlanta, GA 30339-5048
                                                                             Basis for the claim: account payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Drew Gilliland, Esq.                                                   Contingent
          attorney for Monique Jackson
                                                                                 Unliquidated
          351 Atlanta St SE
          Marietta, GA 30060-2258                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim: personal injury complaint, CV # 23A06024, DeKalb
          Last 4 digits of account number                                    County State Court
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 4
          Case 24-54623-pwb                      Doc 38        Filed 05/29/24 Entered 05/29/24 17:23:18                                          Desc Main
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Debtor       Belinda's Southern Cuisine Inc.                                                        Case number (if known)            24-54623-PWB
             Name

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,200.00
          EcoLab                                                               Contingent
          1 Eco Lab Place                                                      Unliquidated
          Saint Paul, MN 55102                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: account payable
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $10,028.30
          ERC Specialists, LLC                                                 Contingent
          560 Timpanogos Circle                                                Unliquidated
          Orem, UT 84097                                                       Disputed
          Date(s) debt was incurred 9/20/2022
                                                                           Basis for the claim: Employee Retention Credit Services Agreement
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $13,000.00
          Media Buying Agency, LLC                                             Contingent
          5665 New Northside Drive                                             Unliquidated
          Suite 530                                                            Disputed
          Atlanta, GA 30328
                                                                           Basis for the claim: account payable
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,871.27
          Performance Food Group, Inc.                                         Contingent
          1250 West Creek Parkway                                              Unliquidated
          Henrico, VA 23238                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: account payable
          Last 4 digits of account number 1111
                                                                           Is the claim subject to offset?     No       Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,909.10
          Shift4                                                               Contingent
          2202 N. Irving St.                                                   Unliquidated
          Allentown, PA 18109
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: account payable
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $12,975.00
          Szabo Assocs/David Schimmack                                         Contingent
          for Link Media Outdoor                                               Unliquidated
          3355 Lenox Road NE; # 945                                            Disputed
          Atlanta, GA 30326-1332
                                                                           Basis for the claim: account payable
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,941.89
          US Foods, Inc.                                                       Contingent
          7950 Spence Road                                                     Unliquidated
          Fairburn, GA 30213                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: account payable
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       A.G. Adjustments LTD
          representing US Foods, Inc.                                                           Line     3.10
          740 Walt Whitman Rd.
                                                                                                       Not listed. Explain
          Melville, NY 11747-9090

4.2       Allison McDonald, Esq.
          Law Office of ZanitaKingHughes                                                        Line     3.3                                    3451
          3655 North Pointe Pkwy # 500A
                                                                                                       Not listed. Explain
          Alpharetta, GA 30005

4.3       Benjamin P. Thomas, Esq.
          representing ERC Specialists                                                          Line     3.5                                    7578
          102 South 200 East, Suite 800
                                                                                                       Not listed. Explain
          Salt Lake City, UT 84111

4.4       Georgia Department of Revenue
          Central Collection Section                                                            Line     2.3
          1800 Century Blvd NE, # 9100
                                                                                                       Not listed. Explain
          Atlanta, GA 30345-3205

4.5       Georgia Department of Revenue
          Kelly Dye, Revenue Agent                                                              Line     2.2
          1800 Century Blvd NE # 12000
                                                                                                       Not listed. Explain
          Atlanta, GA 30345

4.6       Performance Foodservice
          PO Box 935716                                                                         Line     3.7
          Atlanta, GA 31193-5716
                                                                                                       Not listed. Explain

4.7       Secretary of the Treasury
          15th & Pennsylvania Avenue, NW                                                        Line     2.4
          Washington, DC 20200
                                                                                                       Not listed. Explain

4.8       United States Attorney
          600 Richard B. Russell Bldg                                                           Line     2.4
          75 Ted Turner Drive, S.W.
                                                                                                       Not listed. Explain
          Atlanta, GA 30303-3315

4.9       Vivin Hudson Uchitel, Esq.
          representing PFG                                                                      Line     3.7
          3490 Piedmont Rd NE; Ste 1100
                                                                                                       Not listed. Explain
          Atlanta, GA 30305


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
5a. Total claims from Part 1                                                                       5a.          $                    217,054.92
5b. Total claims from Part 2                                                                       5b.    +     $                     62,925.56

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.          $                      279,980.48




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Fill in this information to identify the case:

Debtor name       Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)     24-54623-PWB
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)   24-54623-PWB
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Belinda Ann Hull            4483 Lionshead Circle                                     Newtek Small                       D   2.3
                                      Lithonia, GA 30038                                        Business Finance                   E/F
                                                                                                                                   G




   2.2    Belinda Ann Hull            4483 Lionshead Circle                                     Georgia Dept. of                   D
                                      Lithonia, GA 30038                                        Revenue                            E/F       2.3
                                                                                                                                   G




   2.3    Belinda Ann Hull            4483 Lionshead Circle                                     IOU Central Inc.                   D   2.2
                                      Lithonia, GA 30038                                                                           E/F
                                                                                                                                   G




   2.4    Belinda Ann Hull            4483 Lionshead Circle                                     Performance Food                   D
                                      Lithonia, GA 30038                                        Group, Inc.                        E/F       3.7
                                                                                                                                   G




   2.5    Belinda Ann Hull            4483 Lionshead Circle                                     A.J. Mitchell, Esq.                D
                                      Lithonia, GA 30038                                                                           E/F       3.1
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Belinda's Southern Cuisine Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)     24-54623-PWB
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $436,600.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,419,580.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,420,970.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.1.
              Atlanta Farmers Market                          various                          $12,000.00           Secured debt
              16 Forest Parkway                                                                                     Unsecured loan repayments
              Forest Park, GA 30297
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.2.
              Georgia Department of Revenue                   various                          $61,000.00           Secured debt
              1800 Century Blvd. NE                                                                                 Unsecured loan repayments
              Atlanta, GA 30345                                                                                     Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other sales and use tax


      3.3.
              Gordon Food Service                             various                          $45,900.00           Secured debt
              PO Box 1787                                                                                           Unsecured loan repayments
              Grand Rapids, MI 49501-1787
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.4.
              Inland Seafood                                  various                          $18,700.00           Secured debt
              1651 Montreal Circle                                                                                  Unsecured loan repayments
              Tucker, GA 30084
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.5.
              Newtek Small Business Finance                   various                          $17,009.00           Secured debt
              Barry Sloane, CEO                                                                                     Unsecured loan repayments
              1981 Marcus Avenue, Suite 130
                                                                                                                    Suppliers or vendors
              New Hyde Park, NY 11042
                                                                                                                    Services
                                                                                                                    Other


      3.6.
              IOU Central Inc.                                various                            $6,000.00          Secured debt
              Robert Gloer, CEO                                                                                     Unsecured loan repayments
              600 TownPark Lane, Suite 100
                                                                                                                    Suppliers or vendors
              Kennesaw, GA 30144
                                                                                                                    Services
                                                                                                                    Other


      3.7.
              Walmart                                         various                          $12,000.00           Secured debt
              5401 Fairington Road                                                                                  Unsecured loan repayments
              Lithonia, GA 30038
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Performance Food Group,                  Complaint                   DeKalb County State Court                     Pending
              Inc. vs. Belinda's Southern              regarding                                                                 On appeal
              Cuisine Inc., and Belinda Hull,          business account
                                                                                                                                 Concluded
              Guarantor                                payable and
              24A00564                                 personal guaranty
                                                       of the same

      7.2.    Monique Jackson v. Belinda's             personal injury -           DeKalb County State Court                     Pending
              Southern Cuisine, Inc.                   slip and fall                                                             On appeal
              23A06024
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000



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          None

               Recipient's name and address            Description of the gifts or contributions                 Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Paul Reece Marr, P.C.
                6075 Barfield Road
                Suite 213
                Sandy Springs, GA                        $11,838.00 ($10,100.00 attorney retainer +                    4/11/2024 -
                30328-4402                               $1,738.00 Petition filing fee)                                4/29/2024                 $11,838.00

                Email or website address
                paul.marr@marrlegal.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

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14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred
      18.1.     Truist Bank                            XXXX-9130                      Checking                 12/22/2023                              $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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Debtor      Belinda's Southern Cuisine Inc.                                                     Case number (if known) 24-54623-PWB



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Belinda Hull
                    Belinda's Southern Cuisine, Inc.
                    7322 Stonecrest Concourse
                    Lithonia, GA 30038

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Belinda Hull
                    Belinda's Southern Cuisine, Inc.
                    7322 Stonecrest Concourse
                    Lithonia, GA 30038

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Belinda Hull                            4483 Lionshead Circle                               sole officer and shareholder                  100
                                              Lithonia, GA 30038



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
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    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Belinda Hull                                                                                         365 day
      .    4483 Lionshead Circle                                                                                pre-petition
             Lithonia, GA 30038                       approximately $70,000.00                                  period              compensation

             Relationship to debtor
             sole officer and shareholder


      30.2 Bobby Hubbard                                                                                        365 day
      .    4483 Lionshead Circle                                                                                pre-Petition
             Lithonia, GA 30038                       approximately $30,000.00                                  period              compensation

             Relationship to debtor
             employee, owner's husband


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Belinda's Southern Cuisine Inc.                                                     Case number (if known) 24-54623-PWB




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 29, 2024

/s/ Belinda Ann Hull                                            Belinda Ann Hull
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                      United States Bankruptcy Court
                                                Northern District of Georgia, Atlanta Division
 In re    Belinda's Southern Cuisine Inc.                                                                         Case No.       24-54623-PWB
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Belinda Hull                                                                      100%                                       common stock
4483 Lionshead Circle
Lithonia, GA 30038


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date May 29, 2024                                                        Signature /s/ Belinda Ann Hull
                                                                                        Belinda Ann Hull

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                    :                Case No. 24-54623-PWB
                                          :
BELINDA'S SOUTHERN CUISINE INC.,          :                Chapter 11
                                          :
   Debtor.                                :                SubChapter V
__________________________________________:


                                  CERTIFICATE OF SERVICE

         This is to certify that I have on this day electronically filed the foregoing SCHEDULES,
STATEMENT OF FINANCIAL AFFAIRS, and related documents using the Bankruptcy Court’s
Electronic Case Filing program which sends a notice of this document and an accompanying link
to this document to all registered parties who have filed appearances in the above captioned case
as follows:


Alan Hinderleider on behalf of U.S. Trustee         Kenneth Mitchell allegedly on behalf of Debtor
United States Trustee                               Belinda's Southern Cuisine Inc.
Alan.Hinderleider@usdoj.gov                         gmapclaw1@gmail.com,
                                                    kmitchell5000@gmail.com

                                                    Tamara M. Ogier (Sub V Trustee)
                                                    tmo@orratl.com,
                                                    jc@orratl.com;tmo@trustesolutions.net;ctmo11
                                                    @trustesolutions.net


         This the 29th day of May, 2024.


                                                    /s/ Paul Reece Marr
                                                    Paul Reece Marr
                                                    GA Bar No. 471230

PAUL REECE MARR, P.C.
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Sandy Springs, GA 30328
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